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                                          1   Michael Kind, Esq.
                                          2   Nevada Bar No.: 13903
                                              KAZEROUNI LAW GROUP, APC
                                          3   6069 South Fort Apache Road, Suite 100
                                          4   Las Vegas, Nevada 89148
                                              Phone: (800) 400-6808 x7
                                          5   FAX: (800) 520-5523
                                          6   mkind@kazlg.com

                                          7   David H. Krieger, Esq.
                                          8   Nevada Bar No.: 9086
                                              HAINES & KRIEGER, LLC
                                          9   8985 S. Eastern Avenue, Suite 350
                                         10   Henderson, Nevada 89123
                                              Phone: (702) 880-5554
                                         11   FAX: (702) 385-5518
6069 South Fort Apache Road, Suite 100




                                              dkrieger@hainesandkrieger.com
  KAZEROUNI LAW GROUP, APC




                                         12
                                              Attorneys for Plaintiff Alan Warenski,
       Las Vegas, Nevada 89148




                                         13   Individually and on behalf of all others similarly situated
                                         14
                                                                      UNITED STATES DISTRICT COURT
                                         15                                DISTRICT OF NEVADA
                                         16
                                         17
                                                Alan Warenski, individually and on                   Case No.: 2:19-cv-00313
                                         18
                                                behalf of all others similarly
                                         19     situated,                                            Class Action
                                         20
                                                                        Plaintiff,                   Complaint for damages and
                                         21     v.                                                   injunctive relief pursuant to the
                                                                                                     Telephone Consumer Protection
                                         22
                                                Aargon Agency, Inc.,                                 Act, 47 U.S.C. § 227, et seq.
                                         23
                                                                        Defendant.                   Jury Trial Demanded
                                         24
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                                              ________________________________________________________________________________________________________
                                              COMPLAINT
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                                          1                                         INTRODUCTION
                                          2   1. Alan Warenski (“Plaintiff”) brings this Class Action Complaint for damages,
                                          3       injunctive relief, and any other available legal or equitable remedies, resulting
                                          4       from the illegal actions of Aargon Agency, Inc. (“Defendant”), in negligently
                                          5       and/or intentionally contacting Plaintiff on Plaintiff’s cellular telephone, in
                                          6       violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
                                          7       (the “TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows
                                          8       upon personal knowledge as to himself and his own acts and experiences, and,
                                          9       as to all other matters, upon information and belief, including investigation
                                         10       conducted by his attorneys.
                                         11   2. The TCPA was designed to prevent calls like the ones described within this
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                                         12       complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
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                                         13       consumer complaints about abuses of telephone technology – for example,
                                         14       computerized calls dispatched to private homes – prompted Congress to pass
                                         15       the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
                                         16   3. In enacting the TCPA, Congress intended to give consumers a choice as to how
                                         17       creditors and telemarketers may call them, and made specific findings that
                                         18       “[t]echnologies that might allow consumers to avoid receiving such calls are not
                                         19       universally available, are costly, are unlikely to be enforced, or place an
                                         20       inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11. Toward
                                         21       this end, Congress found that
                                                         [b]anning such automated or prerecorded telephone calls to the
                                         22
                                                         home, except when the receiving party consents to receiving the
                                         23              call or when such calls are necessary in an emergency situation
                                                         affecting the health and safety of the consumer, is the only
                                         24
                                                         effective means of protecting telephone consumers from this
                                         25              nuisance and privacy invasion.
                                         26       Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
                                         27       3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on
                                         28       TCPA’s purpose).

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                                              COMPLAINT                                         - !2 -
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                                          1   4. Congress also specifically found that “the evidence presented to the Congress
                                          2       indicates that automated or prerecorded calls are a nuisance and an invasion of
                                          3       privacy, regardless of the type of call. . . .” Id. at §§ 12-13; see also, Mims, 132
                                          4       S. Ct. at 744
                                          5                                 JURISDICTION AND VENUE
                                          6   5. This Court has federal question jurisdiction because this case arises out of
                                          7       violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs. LLC,
                                          8       132 S. Ct. 740 (2012).
                                          9   6. Venue is proper in the United States District Court for the District of Nevada
                                         10       pursuant to 28 U.S.C. § 1391 for the following reasons: (i) Plaintiff resides
                                         11       within this judicial district; (ii) the harm complained of herein occurred within
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                                         12       this judicial district; and, (iii) many of the acts and transactions giving rise to
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                                         13       this action occurred in this district because Defendant is listed with the Nevada
                                         14       Secretary of State as a Foreign Limited-Liability Company doing business in
                                         15       Nevada and
                                         16                (a) conducts business in this district and has intentionally availed itself
                                         17                of the laws and markets within this district;
                                         18                (b) does substantial business within this district;
                                         19                (c) is subject to personal jurisdiction in this district because it has
                                         20                availed itself of the laws of Nevada; and
                                         21                (d) caused harm to Plaintiff within this district.
                                         22                                               PARTIES
                                         23   7. Plaintiff is, and at all times mentioned herein was, a citizen and resident of the
                                         24       State of Nevada. Plaintiff is, and at all times mentioned herein was, a “person”
                                         25       as defined by 47 U.S.C. § 153(39).
                                         26   8. Plaintiff is informed and believes, and thereon allege, that Defendant is, and at
                                         27       all times mentioned herein was, a Limited-Liability Company doing business in
                                         28       Nevada and is a “person,” as defined by 47 U.S.C. § 153(39).

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                                              COMPLAINT                                         - !3 -
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                                          1   9. Upon information and belief, and according to Defendant’s website, http://
                                          2       www.gotodrs.com, Defendant is a nationwide debt collection agency.
                                          3   10. Plaintiff is informed and believes, and thereon alleges, that Defendant is a
                                          4       company and owner (or frequent user) of one or more of the telephone numbers
                                          5       used by Defendant to make telephone calls to Plaintiff in violation of the TCPA.
                                          6                                   FACTUAL ALLEGATIONS
                                          7   11. At no time did Plaintiff give prior written express consent for Defendant to
                                          8       contact Plaintiff on his cellular telephone using an automatic telephone dialing
                                          9       system or an artificial or prerecorded voice.
                                         10   12. Starting in around 2018 or early 2019, without any prior express consent from
                                         11       Plaintiff, Defendant initiated numerous telephone calls to Plaintiff’s cellular
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                                         12       telephone number.
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                                         13   13. Defendant called Plaintiff’s cellular telephone number using a prerecorded
                                         14       voice.
                                         15   14. Defendant called Plaintiff’s cellular telephone number using an artificial voice.
                                         16   15. Upon information and belief, Defendant placed these calls using an “automatic
                                         17       telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. § 227 (a)(1) as
                                         18       prohibited by 47 U.S.C. § 227 (b)(1)(A).
                                         19   16. These telephone calls constituted calls that were not for emergency purposes as
                                         20       defined by 47 U.S.C. § 227 (b)(1)(A)(i).
                                         21   17. Upon information and belief, the ATDS used by Defendants has the capacity to
                                         22       store or produce telephone numbers to be called, using a random or sequential
                                         23       number generator.
                                         24   18. Upon information and belief, the ATDS used by Defendant also has the capacity
                                         25       to, and does, dial telephone numbers stored as a list or in a database without
                                         26       human intervention.
                                         27
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                                              COMPLAINT                                         - !4 -
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                                          1   19. Defendant’s calls was placed to a telephone number assigned to a cellular
                                          2       telephone service for which Plaintiff incurred a charge for incoming calls
                                          3       pursuant to 47 U.S.C. § 227(b)(1).
                                          4   20. The telephone calls were unwanted by Plaintiff.
                                          5   21. Defendant did not have prior express written consent to place the telephone
                                          6       calls to Plaintiff.
                                          7   22. Through Defendant’s aforementioned conduct, Plaintiff suffered an invasion of
                                          8       a legally protected interest in privacy, which is specifically addressed and
                                          9       protected by the TCPA.
                                         10   23. Plaintiff was personally affected by Defendant’s aforementioned conduct
                                         11       because Plaintiff was frustrated and distressed that Defendant interrupted
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                                         12       Plaintiff with an unwanted calls using an ATDS and prerecorded voices.
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                                         13   24. Defendant’s calls forced Plaintiff and other similarly situated class members to
                                         14       live without the utility of their cellular phones by occupying their cellular
                                         15       telephone with one or more unwanted calls, causing a nuisance and lost time.
                                         16   25. Defendant’s calls to Plaintiff’s cellular telephone number were unsolicited by
                                         17       Plaintiff and without Plaintiff’s permission or consent.
                                         18   26. Plaintiff is informed and believes and here upon alleges, that the calls were
                                         19       made by Defendant and/or Defendant’s agent(s), with Defendant’s permission,
                                         20       knowledge, control and for Defendant’s benefit.
                                         21   27. Through the aforementioned conduct, Defendant has violated 47 U.S.C. §
                                         22       227(b)(1)(A)(iii).
                                         23   28. Further, Defendant’s violations also caused Plaintiff to suffer a real and concrete
                                         24       harm because when Defendant called Plaintiff, Plaintiff’s time was wasted on
                                         25       phone calls with Defendant when Defendant had no right to contact Plaintiff.
                                         26       Defendant also consumed and wasted Plaintiff’s cellphone battery life. Plaintiff
                                         27       also suffered from frustration and annoyance from Defendant’s prerecorded and
                                         28       artificial voices which the TCPA was enacted to prevent. See, e.g., Mey v. Got

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                                          1       Warranty, Inc., No. 5:15-CV-101, 2016 U.S. Dist. LEXIS 84972, at *8 (N.D.W.
                                          2       Va. June 30, 2016) (“[S]uch calls also cause intangible injuries, regardless of
                                          3       whether the consumer has a prepaid cell phone or a plan with a limited number
                                          4       of minutes. The main types of intangible harm that unlawful calls cause are (1)
                                          5       invasion of privacy, (2) intrusion upon and occupation of the capacity of the
                                          6       consumer’s cell phone, and (3) wasting the consumer’s time or causing the risk
                                          7       of personal injury due to interruption and distraction.”).
                                          8                               CLASS ACTION ALLEGATIONS
                                          9   29. Plaintiff brings this action on behalf of himself and on behalf of all others
                                         10       similarly situated (“the Class”).
                                         11   30. Plaintiff represents, and is a member of the Class, consisting of
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                                         12
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                                         13               All persons within the United States who received any
                                                          telephone call from Defendant or their agents and/or
                                         14               employees, not sent for emergency purposes, to the person’s
                                         15               cellular telephone made through the use of any automatic
                                                          telephone dialing system and/or with an artificial or prerecorded
                                         16               voice within the four years prior to the filing of this Complaint.
                                         17
                                              31. Defendant and its employees or agents are excluded from the Class. Plaintiff
                                         18
                                                  does not know the number of members in the Class, but believe the Class
                                         19
                                                  members number in the several hudreds, if not more. Thus, this matter should
                                         20
                                                  be certified as a Class action to assist in the expeditious litigation of this matter.
                                         21
                                              32. Plaintiff and members of the Class were harmed by the acts of Defendant in at
                                         22
                                                  least the following ways: Defendant, either directly or through its agents,
                                         23
                                                  illegally contacted Plaintiff and the Class members via their cellular telephones
                                         24
                                                  by using an ATDS or an artificial or prerecorded voice, thereby causing Plaintiff
                                         25
                                                  and the Class members to incur certain cellular telephone charges or reduced
                                         26
                                                  cellular telephone time for which Plaintiff and the Class members previously
                                         27
                                         28

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                                              COMPLAINT                                         - !6 -
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                                          1       paid, and invading the privacy of Plaintiff and the Class members. Plaintiff and
                                          2       the Class members were damaged thereby.
                                          3   33. This suit seeks only statutory damages and injunctive relief for recovery of
                                          4       economic injury on behalf of the Class, and it expressly is not intended to
                                          5       request any recovery for personal injury and claims related thereto. Plaintiff
                                          6       reserves the right to expand the Class definition to seek recovery on behalf of
                                          7       additional persons as warranted as facts are learned in further investigation and
                                          8       discovery.
                                          9   34. The joinder of the Class members is impractical and the disposition of their
                                         10       claims in the Class action will provide substantial benefits both to the parties
                                         11       and to the Court. The Class can be identified through Defendant’s records or
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                                         12       Defendant’s agents’ records.
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                                         13   35. There is a well-defined community of interest in the questions of law and fact
                                         14       involved affecting the parties to be represented. The questions of law and fact
                                         15       to the Class predominate over questions which may affect individual Class
                                         16       members, including the following:
                                         17           a)     Whether, within the four years prior to the filing of this Complaint,
                                         18                  Defendant or their agents initiated any telephonic communications to
                                         19                  the Class (other than a communication made for emergency purposes
                                         20                  or made with the prior express consent of the called party) using any
                                         21                  automatic dialing system or artificial or artificial or prerecorded voice
                                         22                  to any telephone number assigned to a cellular telephone service;
                                         23           b)     Whether Defendant can meet its burden of showing Defendant
                                         24                  obtained prior express written consent;
                                         25           c)     Whether Defendant’s conduct was knowing and/or willful;
                                         26           d)     Whether Plaintiff and the Class members were damaged thereby, and
                                         27                  the extent of damages for such violation; and
                                         28

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                                              COMPLAINT                                         - !7 -
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                                          1           e)     Whether Defendant and/or its agent/s should be enjoined from
                                          2                  engaging in such conduct in the future.
                                          3   36. As as person that received telephonic communications from Defendant using an
                                          4       ATDS and using an artificial or prerecorded voice without Plaintiff’s prior
                                          5       express written consent, Plaintiff is asserting claims that are typical of the Class.
                                          6       Plaintiff will fairly and adequately represent and protect the interests of the
                                          7       Class in that Plaintiff has no interests antagonistic to any member of the Class.
                                          8   37. Plaintiff and the members of the Class have all suffered irreparable harm as a
                                          9       result of Defendant’s unlawful and wrongful conduct. Absent a class action, the
                                         10       Class will continue to face the potential for irreparable harm. In addition, these
                                         11       violations of law will be allowed to proceed without remedy and Defendant will
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                                         12       likely continue such illegal conduct. Because of the size of the individual Class
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                                         13       members’ claims, few, if any, Class members could afford to seek legal redress
                                         14       for the wrongs complained of herein.
                                         15   38. Plaintiff has retained counsel experienced in handling class action claims and
                                         16       claims involving violations of the TCPA.
                                         17   39. A class action is a superior method for the fair and efficient adjudication of this
                                         18       controversy. Class-wide damages are essential to induce Defendant to comply
                                         19       with federal law. The interest of Class members in individually controlling the
                                         20       prosecution of separate claims against Defendant is small because the maximum
                                         21       statutory damages in an individual action for violation of privacy are minimal.
                                         22       Management of these claims is likely to present significantly fewer difficulties
                                         23       than those presented in many class claims.
                                         24   40. Defendant has acted on grounds generally applicable to the Class, thereby
                                         25       making appropriate final injunctive relief and corresponding declaratory relief
                                         26       with respect to the Class as a whole.
                                         27
                                         28

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                                          1                                   FIRST CAUSE OF ACTION
                                          2                                Negligent Violations of the TCPA
                                          3                                           47 U.S.C. § 227, et seq.
                                          4   41. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                          5       as though fully stated herein.
                                          6   42. The foregoing acts and omissions of Defendant constitute numerous and
                                          7       multiple negligent violations of the TCPA, including but not limited to each and
                                          8       every one of the above-cited provisions of 47 U.S.C. § 227, et seq.
                                          9   43. As a result of Defendant’s negligent violations of 47 U.S.C. § 227, et seq.,
                                         10       Plaintiff and the Class are entitled to an award of $500.00 in statutory damages,
                                         11       for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B).
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                                         12   44. Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting
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                                         13       such conduct in the future.
                                         14                                    SECOND CAUSE OF ACTION
                                         15                          Knowing and/or Willful Violations of the TCPA
                                         16                                           47 U.S.C. § 227, et seq.
                                         17   45. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                         18       as though fully stated herein.
                                         19   46. The foregoing acts and omissions of Defendant constitute numerous and
                                         20       multiple knowing and/or willful violations of the TCPA, including but not
                                         21       limited to each and every one of the above-cited provisions of 47 U.S.C. § 227,
                                         22       et seq.
                                         23   47. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
                                         24       et seq., Plaintiff and The Class are entitled to an award of $1,500.00 in statutory
                                         25       damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
                                         26   48. Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting
                                         27       such conduct in the future.
                                         28

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                                              COMPLAINT                                         - !9 -
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                                          1                                      PRAYER FOR RELIEF
                                          2          Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the
                                          3   Class members the following relief against Defendant:
                                          4           • Certify the Class as requested herein;
                                          5           • Appoint Plaintiff to serve as the Class Representative in this matter;
                                          6           • Appoint Plaintiff’s Counsel as Class Counsel in this matter;
                                          7           • Provide injunctive relief prohibiting Defendant’s unlawful conduct in the
                                          8               future, pursuant to 47 U.S.C. § 227(b)(3)(A);
                                          9           • Award statutory damages of $500.00 for each of Defendant’s negligent
                                         10               violations of 47 U.S.C. § 227(b)(1), pursuant to 47 U.S.C. §227(b)(3)(B);
                                         11           • Award statutory damages of $1,500.00 for each of Defendant’s knowing
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                                         12               and/or willful violations of 47 U.S.C. § 227(b)(1), pursuant to 47 U.S.C.
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                                         13               § 227(b)(3)(C); and
                                         14           • Any other relief the Court may deem just and proper.
                                         15                                          TRIAL BY JURY
                                         16   49. Pursuant to the seventh amendment to the Constitution of the United States of
                                         17       America, Plaintiff is entitled to, and demands, a trial by jury.
                                         18
                                                    Respectfully submitted this 20th day of February 2019.
                                         19
                                         20
                                                                                             KAZEROUNI LAW GROUP, APC
                                         21
                                                                                             By: /s/ Michael Kind
                                         22
                                                                                             Michael Kind, Esq.
                                         23                                                  6069 South Fort Apache Road, Suite 100
                                                                                             Las Vegas, Nevada 89148
                                         24
                                                                                             Attorneys for Plaintiff
                                         25
                                         26
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                                              COMPLAINT                                        - ! 10 -
